
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.*
11 Prior to the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline, in which respondent admitted that he violated the Rules of Professional Conduct by engaging in conduct that constitutes a conflict of interest and is prejudicial to the administration of justice. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted, and that Benjamin L. Johnson, Louisiana Bar Roll number 7279, be suspended from the practice of law for a period of six months, fully deferred, subject to a two-year period of unsupervised probation. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.

 Chief Justice Kimball not participating in the opinion.

